    Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 1 of 11




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )          CRIMINAL ACTION NO.
       v.                                    )          2:08-cr-121-WHA
                                             )          [wo]
JAMES R. RUSSELL                             )


  REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       This cause is before the Court on a Motion and Memorandum to Suppress All

Evidence Derived from the Interception of Telephone Communication filed by Defendant

James Russell (“Russell”) and the Government’s Response to Defendant’s Motion to

Suppress All Evidence Derived from the Interception of Telephone Communications. See

Doc. 279, “Motion to Suppress”; Doc. 302, “Response.” Russell challenges the necessity of

the wiretap in this case and seeks suppression of the resulting evidence. An evidentiary

hearing was conducted on October 3, 2008.         After the evidentiary hearing and due

consideration of briefs, arguments, and applicable law, the Magistrate Judge concludes the

wire tap passes Constitutional muster and recommends that the District Court DENY the

motion to suppress.

            I. FACTUAL BACKGROUND AND MOTION TO SUPPRESS

       The Grand Jury for the Middle District of Alabama indicted Russell and fifteen others

for conspiracy to possess with intent to distribute powder and crack cocaine. The indictment

and subsequent arrests stemmed from a Drug Enforcement Agency (“DEA”) investigation

                                       Page 1 of 11
     Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 2 of 11




which resulted in the issuance of Title III wiretap orders for telephone number 334-538-4008

subscribed by Marcus Jenkins.

       On May 29, 2008, the federal grand jury returned an indictment against five

defendants, but not Russell. See Doc. 1, Indictment. On June 25, 2008, the federal grand

jury returned a superseding indictment naming sixteen defendants including Russell. See

Doc. 8, Superseding Indictment. The superseding indictment charged the defendants with

conspiracy to possess with intent to distribute five (5) kilograms or more of powder and crack

cocaine in violation of 23 U.S.C. § 846. As of the date of this report and recommendation,

nine (9) defendants have entered guilty pleas to the conspiracy charge.

       On September 25, 2008, Russell filed his motion to suppress along with a motion for

leave to file out of time since the motion was well beyond the deadline established by the

Court. See Doc. 279; see Doc. 280, Motion for Leave. The Court granted the motion to file

out of time. The Motion to Suppress seeks to suppress all evidence derived from the

wiretaps. See Doc. 279 at p. 3-5. Specifically, Russell contends the government failed to

present sufficient facts to satisfy the “necessity” requirement of 18 U.S.C. § 2518(1)(c).

       The United States filed its response on October 1, 2008 wherein it asserts that Russell

failed to carry his burden to allege specific illegality and that he lacks standing to challenge

the evidence obtained through the wiretap. See Doc. 302 at p. 2-4. The government further

asserts that it satisfied the “necessity” requirement. Id. at p. 4-8.




                                         Page 2 of 11
     Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 3 of 11




                     II. WIRETAP APPLICATION AND ORDER

       As part of its investigation, the DEA applied for a wiretap of the cellular telephone

of Marcus Jenkins, a suspected member of a cocaine distribution ring. With the application,

the government submitted the affidavit of DEA Special Agent John Bret Hamilton (“Agent

Hamilton”). See Exhibit 1-2 of Hearing, Application and Affidavit.1

       In the affidavit, Agent Hamilton detailed the investigation from January 2008 to

March 14, 2008. See Exhibit 2. The government had used two cooperating sources (CS1 and

CS2), both of whom had proven reliable and whose information had been verified. Agent

Hamilton detailed the information obtained from CS1 and CS2 including consensual

recordings of telephone conversations and controlled buys. Agent Hamilton also explained

that CS1 and CS2 could not identify all members of the drug trafficking group nor did they

know the inner workings of the organization.

       Agent Hamilton’s affidavit further details the investigative techniques used and those

they chose not to use during their investigation. Physical surveillance was used throughout

the investigation, but became increasingly unhelpful because of counter surveillance

techniques used by the defendants and the limited information surveillance could reveal.

Further, prolonged physical surveillance was likely to alert the targets and compromise the

investigation.



       1
               These wiretap orders as well as the applications and affidavits supporting them were
provided to defense counsel through discovery and were made part of the Court’s record during the
suppression hearing.

                                          Page 3 of 11
    Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 4 of 11




       Agent Hamilton affirmed they used subpoenaed telephone records as well as a pen

register and trap and trace device on Marcus Jenkins’ phone. He noted that agents learned

through these records that the target phone was used to make and receive calls from the

phones of several alleged co-conspirators. The pen register records could not and did not

identify either the person who actually made and received the calls nor do they provide the

content of the conversations. As such, they could not help the agents achieve all the goals

of the investigation.

       Agent Hamilton also set forth the techniques which had been rejected. First, he stated

the use of a pole camera had been considered and rejected because of the physical

surroundings. The limited number of utility poles meant a pole camera would be easily

found and likely compromise the investigation. Next, Agent Hamilton explained that the use

of the federal grand jury would alert the target subjects to the investigations likely causing

them to flee to avoid prosecution.

       Agent Hamilton said the use of undercover officers would not likely result in useful

information and would put the officers at great risk. The members of the alleged conspiracy

all had long ties to each other and the community, therefore it was unlikely they would trust

an “outsider.” Agent Hamilton also opined search warrants would not have been appropriate

because they had not yet identified all the individuals involved in the alleged conspiracy and

thus did not know all the locations to search. A premature search would alert the target

subjects and compromise the investigation. Likewise, Agent Hamilton believed a trash



                                        Page 4 of 11
     Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 5 of 11




search would likely be ineffective because the target subjects were using counter surveillance

techniques and a trash search would likely compromise the investigation. Finally, Agent

Hamilton noted financial analysis would not be effective because the investigating agents

lacked sufficient information regarding financiers and financial relationships.

       For all the reasons described above, Agent Hamilton advised United States District

Judge Truman Hobbs that “normal investigative techniques have been tried and have failed,

or reasonably appear unlikely to succeed fully if tried.” See Exhibit 2 at ¶ 52. On March 14,

2008, Judge Hobbs authorized a thirty (30) day wiretap as well as the interception of

additional telephone numbers. See Exhibit 3 from Hearing.

                          III. DISCUSSION AND ANALYSIS

       The authority to authorize electronic surveillance is found in Title III of the Omnibus

Crime Control and Safe Streets Act of 1968, 18 U.S.C. §§ 2510-2520. Title III sets forth

numerous requirements the government must meet to warrant authorization of a wiretap. See

18 U.S.C. § 2518(1). It further details the findings the district court must make and the

requirements for the authorization order. See 18 U.S.C. § 2518(3)-(4). Title III also contains

its own exclusionary rule wherein an “aggrieved person” may challenge the surveillance that

occurred. See 18 U.S.C. § 2518(10).

A.     Standing

       Standing for the purposes of challenging a wiretap is evaluated using the standing

principles for Fourth Amendment claims. Alderman v. United States, 394 U.S. 165, 176 n.



                                        Page 5 of 11
    Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 6 of 11




9, 89 S.Ct. 961, 968 n. 9, 22 L.Ed.2d 176 (1969). “[O]nly an aggrieved person . . . may move

to suppress a communication that was unlawfully intercepted.” United States v. Faulkner,

439 F.3d 1221, 1223 (10th Cir. 2006). An “aggrieved person” is defined by the Act as “a

person who was a party to any intercepted wire, oral, or electronic communication or a

person against whom the interception was directed.” 18 U.S.C. § 2510(11). To show he is

an aggrieved party the claimant must show that he was a party to an intercepted

communication, that the government’s efforts were directed at him, or that the intercepted

communications took place on his premises. United States v. Apple, 915 F.2d 899, 905 (4th

Cir. 1990); see also Faulkner, 439 F.3d at 1223 (citing Apple); United States v. Flores, 2007

WL 2904109, *2 (N.D. Ga. 2007) (unpublished) (citing Faulkner and listing same

requirements). Additionally, standing is not conferred on co-conspirators or co-defendants

who are not parties to or targets of the intercepted communications, merely because they are

implicated by the evidence obtained during the surveillance. United States v. Fredericks, 586

F.2d 470, 480 (5th Cir. 1978).

       In his motion, Russell challenges the entirety of the fruits of the wiretap and seeks to

suppress all evidence derived from the interception of telephone communication. See

generally Doc. 279. During the hearing, Russell conceded he lacks standing to challenge all

the phone calls captured under the wiretap, but does have standing to challenge the five

phone conversations involving Russell which underlie Counts 41 through 45 in the

Superseding Indictment. For the purposes of this analysis, the Court assumes Russell has



                                        Page 6 of 11
     Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 7 of 11




standing as to those five phone calls with Marcus Jenkins.2

B.     Necessity

       Russell challenges the wiretaps as unnecessary under the statute because normal

investigative techniques - including the use of the pen register, subpoenaed records, and

confidential sources - then being employed had been successful and should have been

continued to be used. See Doc. 279 at p. 3. Russell posits the wiretaps were unnecessary.

       An application for a wiretap must include “a full and complete statement as to whether

or not other investigative procedures have been tried and failed or why they reasonably

appear to be unlikely to succeed if tried or to be too dangerous.” 18 U.S.C. § 2518(1)(c).

This necessity requirement is “designed to ensure that electronic surveillance is neither

routinely employed nor used when less intrusive techniques will succeed.” United States v.

Van Horn, 789 F.2d 1492, 1496 (11th Cir. 1986) (citing United States v. Giordano, 416 U.S.

505, 515, 94 S.Ct. 1820, 1826, 40 L.Ed.2d 341 (1974) and United States v. Kahn, 415 U.S.

143, 153 n. 12, 94 S.Ct. 977, 983 n. 12, 39 L.Ed.2d 225 (1974)); accord United States v.

Carranza, 921 F.2d 1557. However, the “affidavit need not . . . show a comprehensive

exhaustion of all possible techniques, but must simply explain the retroactive or prospective

failure of several investigative techniques that reasonably suggest themselves.” Van Horn,

789 at 1496 (citing United States v. Alonso, 740 F.2d 862, 868 (11th Cir. 1984)).



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               The Court does not address the merits of the Government’s argument that Russell
lacks standing because co-defendant Marcus Jenkins pled guilty and thus Russell has no expectation
of privacy.

                                          Page 7 of 11
     Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 8 of 11




       In the case at hand, the Government notes Russell fails to specifically address the

alleged deficiency in the affidavit to support his claim, but instead generally alleges the basis

for the Title III wiretap was insufficient. See Doc. 279 at p. 3. A court’s wiretap order

issued pursuant to Title III enjoys a presumption of validity. United States v. Weber, 808

F.2d 1422, 1423 (11th Cir. 1987); United States v. Angula-Hurtado, 165 F.Supp.2d 1363,

1367 (N.D. Ga. 2001). Thus, Russell bears the burden of overcoming this presumption of

validity. See United States v. De La Fuente, 548 F.2d 528, 534 (5th Cir. 1977). Russell’s

vague and unspecific allegation that the wiretap was unnecessary is insufficient to carry his

burden.

       Further, to determine whether the Government satisfied the necessity requirement, the

Court looks to the application and affidavits for the wiretap. The affidavit submitted in

support of the wiretap is more than sufficient to satisfy Title III’s necessity requirement. The

affidavit details the steps law enforcement agents took and/or considered during their

investigation of the drug conspiracy. Agent Hamilton described the techniques utilized

including two confidential sources, consensual monitoring of telephone conversations,

recorded telephone conversations, toll records, pen registers and trap and trace devices,

mobile tracking devices, and physical surveillance. Despite using these techniques, law

enforcement was unable to identify the full scope and membership of the drug trafficking

organization. Agent Hamilton also described how other traditional investigative techniques -

i.e. use of a pole camera, federal grand jury subpoenas, undercover officers, interviews,



                                          Page 8 of 11
     Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 9 of 11




search warrants, trash searches, financial analysis, and further use of the techniques already

used - were not reasonably likely to succeed. Thus, contrary to Russell’s assertion, the

government has made sufficient showing that it was not successful in infiltrating the drug

trafficking organization. In fact, counsel stated at the hearing that if not for the wiretap, her

client probably would not have been discovered. The Court agrees, which demonstrates the

necessity for the wiretap.

C.     Good Faith

       In any event, the Leon good faith exception to the Exclusionary Rule applies in this

case. See United States v. Leon, 468 U.S. 897, 104 S.Ct. 3405, 82 L.Ed.2d 677 (1984). The

Leon good faith exception “stands for the principle that courts generally should not render

inadmissible evidence obtained by police officers acting in reasonable reliance upon a search

warrant that is ultimately found to be unsupported by probable cause.” United States v.

Robinson, 336 F.3d 1293, 1295-96 (11th Cir. 2003) (citing United States v. Martin, 297 F.3d

1308, 1313 (11th Cir. 2002)). The good faith exception also applies to wiretap applications

and orders. See United States v. Malekzadeh, 855 F.2d 14982, 1497 (11th Cir. 1988). There

are only four situations where the good faith exception does not apply:

       (1) where the magistrate or judge in issuing a warrant was misled by
       information in an affidavit that the affiant knew was false or would have
       known was false except for his reckless disregard of the truth; (2) where the
       issuing magistrate wholly abandoned his judicial role; (3) where the affidavit
       supporting the warrant is so lacking in indicia of probable cause as to render
       official belief in its existence entirely unreasonable; and (4) where, depending
       upon the circumstances of the particular case, a warrant is so facially deficient-
       i.e., in failing to particularize the place to be searched or the things to be

                                         Page 9 of 11
    Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 10 of 11




       seized-that the executing officers cannot reasonably presume it to be valid.

Martin, 397 F.3d at 1313 (citing Leon, 468 U.S. at 923, 104 S.Ct. 3405). There is no

indication nor any allegation that these four situations occurred in this case.

       Further, the purpose of the exclusionary rule is to act as “a deterrent to willful conduct

that violates individual rights.” Malekzadeh, 855 F.2d at 1497. Here, the law enforcement

officers did exactly what the law requires. An application and affidavit for a wiretap was

submitted to a federal district judge who then made a probable cause determination. The

reliance on the wiretap order was appropriate and accordingly, the good faith exception

precludes suppression of the evidence.

                                     IV. CONCLUSION

       Pursuant to the foregoing findings and conclusions, it is the RECOMMENDATION

of the Magistrate Judge that Defendant Russell’s Motion and Memorandum to Suppress All

Evidence Derived from the Interception of Telephone Communication (Doc. 279) be

DENIED.

       It is further ORDERED that the parties shall file any objections to the said

Recommendation not later than October 17, 2008.3 Any objections filed must specifically

identify the findings in the Magistrate Judge's Recommendation to which the party is

objecting. Frivolous, conclusive or general objections will not be considered by the District



       3
                Shelton was given leave to file his late suppression motion. See Doc. 293. Because
of the lateness of the motion and the compressed time period before trial, the objection period has
been shortened from the standard thirteen days.

                                          Page 10 of 11
    Case 2:08-cr-00121-RAH-CWB Document 315 Filed 10/08/08 Page 11 of 11




Court. The parties are advised that this Recommendation is not a final order of the court and,

therefore, it is not appealable.

       Failure to file written objections to the proposed findings and advisements in the

Magistrate Judge's Recommendation shall bar the party from a de novo determination by the

District Court of issues covered in the Recommendation and shall bar the party from

attacking on appeal factual findings in the Recommendation accepted or adopted by the

District Court except upon grounds of plain error or manifest injustice.           Nettles v.

Wainwright, 677 F.2d 404 (5th Cir. 1982); see Stein v. Reynolds Securities, Inc., 667 F.2d

33 (11th Cir. 1982); see also Bonner v. City of Prichard, 661 F.2d 1206 (11th Cir. 1981)(en

banc) (adopting as binding precedent all of the decisions of the former Fifth Circuit handed

down prior to the close of business on September 30, 1981).

       DONE this 8th day of October, 2008.

                                           /s/ Terry F. Moorer
                                           TERRY F. MOORER
                                           UNITED STATES MAGISTRATE JUDGE




                                        Page 11 of 11
